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 1                           IN THE UNITED STATES DISTRICT COURTS
 2                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 3                      AND THE NORTHERN DISTRICT OF CALIFORNIA
 4            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 5              PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 6
 7    RALPH COLEMAN, et al.,
 8                             Plaintiffs,
                                                         NO. CIV S-90-0520 LKK JFM P
 9                     v.
                                                         THREE-JUDGE COURT
10    ARNOLD SCHWARZENEGGER,
      et al.,
11
                               Defendants.
12
13
      MARCIANO PLATA, et al.,
14
                               Plaintiffs,               NO. C01-1351 TEH
15
                       v.                                THREE-JUDGE COURT
16
      ARNOLD SCHWARZENEGGER,                             ORDER
17    et al.,

18                             Defendants.

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20           This matter came on for hearing on August 7, 2008 on three discovery disputes. Maria
21   V. Morris, Esq., appeared as counsel for the Coleman plaintiffs. Rebekah Evenson, Esq.,
22   appeared as counsel for the Plata plaintiffs. Lisa Tillman, Deputy Attorney General,
23   appeared as counsel for the Coleman defendants. S. Anne Johnson, Esq. and Renju Jacobs,
24   Esq. appeared as counsel for the Plata defendants. Two of the disputes are resolved herein,
25   while the third is resolved pursuant to a stipulation reached by the parties at the time of the
26   hearing and approved by separate order of this court.
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 1   I. Plaintiffs’ Motion to Compel Supplemental Responses and Production
 2          The first dispute centers on whether defendants should be compelled to provide
 3   supplemental responses to requests 22, 28, 30 and 38 of the Coleman plaintiffs’ First Request
 4   for Production of Documents and to requests 32 and 33 of the Plata plaintiffs’ First Request
 5   for Production of Documents.1 Plaintiffs seek an order compelling supplemental responses
 6   to these requests pursuant to Rules 26(e) and 37(c) of the Federal Rules of Civil Procedure.
 7          Defendants oppose the motion on two separate grounds. With respect to requests 22
 8   and 38 of the Coleman plaintiffs’ First Request for Production of Documents, defendants
 9   state that they “do not believe any new documents exist that will be responsive to these
10   requests.” Joint Statement Re Plaintiffs’ Motion to Compel Supplemental Responses and
11   Production, at 18. With respect to the other four requests, defendants assert that they are not
12   obligated to provide supplemental responses because their initial responses to these four
13   requests were “solely objections and Plaintiffs never filed a motion to compel further
14   responses.” Id. at 18-19.
15          Rule 26(e) of the Federal Rules of Civil Procedure provides in relevant part:
16          (e) Supplementing Disclosures and Responses.
17                 (1) In General. A party who has made a disclosure under Rule
                   26(a)--or who has responded to an interrogatory, request for
18                 production, or request for admission--must supplement or correct
                   its disclosure or response:
19
                          (A) in a timely manner if the party learns that in
20                        some material respect the disclosure or response is
                          incomplete or incorrect, and if the additional or
21                        corrective information has not otherwise been made
                          known to the other parties during the discovery
22                        process or in writing; or
23                        (B) as ordered by the court.
24   Fed. R. Civ. P. 26(e). Under Rule 26(e), litigants have a continuing duty to supplement their
25   discovery responses at appropriate intervals if the prior responses were “incomplete or
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27             All other disputes set forth in the parties’ August 1, 2008 Joint Statement Re
     Plaintiffs’ Motion to Compel Supplemental Responses and Production have been resolved by
28   the parties either prior to or at the August 7, 2008 hearing on the motion.

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 1   incorrect” and “additional or corrective information has not otherwise been made known to”
 2   their opponent during discovery or in writing. Fed.R.Civ.Proc. 26(e)(1).
 3           The sanction for failing to comply with Rule 26(e) is set forth in Rule 37(c), which
 4   provides:
 5           (c) Failure to Disclose, to Supplement an Earlier Response, or to Admit.
 6                 (1) Failure to Disclose or Supplement. If a party fails to provide
                   information or identify a witness as required by Rule 26(a) or (e),
 7                 the party is not allowed to use that information or witness to
                   supply evidence on a motion, at a hearing, or at a trial, unless the
 8                 failure was substantially justified or is harmless. In addition to or
                   instead of this sanction, the court, on motion and after giving an
 9                 opportunity to be heard:
10                         (A) may order payment of the reasonable expenses,
                           including attorney's fees, caused by the failure;
11
                           (B) may inform the jury of the party's failure; and
12
                           (C) may impose other appropriate sanctions,
13                         including any of the orders listed in Rule
                           37(b)(2)(A)(i)-(vi).
14
15   Fed. R. Civ. P. 37(c). Rule 37(c) “gives teeth” to the requirements of Rule 26(e) “by
16   forbidding the use on a motion or at trial of any information required to be disclosed by” that
17   rule, unless the parties’ failure to disclose the required information is substantially justified
18   or harmless. See Yetti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
19   Cir.2001) Rule 37(c) was promulgated to be “self-executing” in order to provide “a strong
20   inducement for disclosure.” Fed.R.Civ.P. 37(c), advisory comm. Note (1993).
21           Defendants have not attempted to tender into evidence information responsive to these
22   requests that has not been produced to plaintiffs during discovery. To the extent that
23   plaintiffs seek an order precluding defendants from using on a substantive motion or at trial
24   information responsive to the six requests at issue in this dispute, the Rule 37(c) motion is
25   premature. Plaintiffs’ motion to compel will therefore be denied.
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 1   II. Depositions
 2           The second dispute arises from three deposition notices served by plaintiffs for the
 3   depositions of three individuals that plaintiffs have identified as witnesses for trial: Susan
 4   Kennedy, Chief of Staff to Governor Arnold Schwarzenegger; Governor Arnold
 5   Schwarzenegger, who is a named defendant in this action; and Deputy Cabinet Secretary
 6   Robert Gore. The depositions are noticed for September 2, 3 and 4, 2008, respectively.
 7   Defendants contend that these three individuals are entitled to the limited immunity from
 8   depositions afforded to high-ranking government officials.2
 9           The immunity on which defendants rely originated in United States v. Morgan, 313
10   U.S. 409 (1941). In Morgan, “the district court allowed plaintiffs to take the deposition of
11   the Secretary of Agriculture regarding decisions made in his official capacity, and
12   subsequently to call him to testify at trial.” Green v. Baca, 226 F.R.D. 624, 648 (C.D.Cal.
13   2005). The Court held that it was error to permit inquiry into the mental process of the
14   Secretary of Agriculture in making an order fixing maximum rates to be charged by market
15   agencies at the Kansas City Stockyards. Morgan, 313 U.S. at 421-22. The Court reasoned
16   that the administrative proceeding at issue was similar to a judicial proceeding and that “just
17   as a judge cannot be subjected to such a scrutiny . . . so the integrity of the administrative
18   process must be equally respected.” Id. at 422.
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21              Defendants also contend that plaintiffs only identified these individuals as trial
     witnesses to evade the requirement of the three-judge court’s July 2, 2008 order prohibiting,
22   absent a showing of very good cause, the depositions of witnesses who will not be called to
     testify at trial, see Order filed July 2, 2008, at 2, and that plaintiffs have not shown “very
23   good cause” for these three depositions. Plaintiffs note that they identified all defendants as
     potential witnesses in their initial disclosures, and that the proposed deponents were
24   specifically identified identified as potential witnesses by the legislative intervenors in their
     initial disclosures. See Ex. S. to Evenson Declaration in Support of Joint Statement Re
25   Discovery Disputed About Depositions, filed August 1, 2008. Defendants now represent that
     only plaintiffs have identified the three proposed deponents as trial witnesses in the August 1,
26   2008 disclosures of non-expert trial witnesses, and that they will object to these three being
     called as trial witnesses. Defendants’ Statement in Response to Court’s Inquiries, filed
27   August 11, 2008, at 2. This court finds no purpose of evasion in the manner in which these
     individuals were named as trial witnesses by plaintiffs and, in any event, as discussed infra
28   that “very good cause” appears in the record for each of the proposed depositions.

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 1           Since Morgan, other courts have held that high public officials “‘“should not, absent
 2   extraordinary circumstances, be called to testify regarding their reasons for taking official
 3   actions.”’” Green, 226 F.R.D. at 648 (quoting In re United States, 985 F.2d 510, 512 (11th
 4   Cir.1993) (in turn quoting Simplex Time Recorder Co. v. Secretary of Labor, 766 F.2d 575,
 5   586 (D.C.Cir.1985)). In addition, courts have recognized that high-ranking public officials
 6   “‘should not have to spend their time giving depositions in cases arising out of the
 7   performance of their official duties unless there is some reason to believe that the deposition
 8   will produce or lead to admissible evidence.’” Stagman v. Ryan, 176 F.3d 986, 994-95 (7th
 9   Cir. 1999) (quoting Olivieri v. Rodriguez, 122 F.3d 406, 409-10 (7th Cir. 1997), cert. denied,
10   522 U.S. 1110 (1998)); see also Kyle Eng. Co. v. Kleppe, 600 F.2d 226, 231-32 (9th
11   Cir.1979) ( “Heads of government agencies are not normally subject to deposition and the
12   district court’s order directing [the Administrator of the Small Business Administration] to
13   answer interrogations in lieu of a deposition does not appear unreasonable.” (internal citation
14   omitted)).
15           The immunity from testifying at a deposition afforded to high-ranking officials is not
16   absolute. Courts have permitted depositions of high-ranking government officials on a
17   showing that the officials had “‘direct personal factual information pertaining to material
18   issues in an action . . . [that] is not available through any other source.’” Green, 226 F.R.D.
19   at 648 (quoting Church of Scientology of Boston v. I.R.S., 138 F.R.D. 9, 12 (D.Mall. 1990).
20   Courts have also permitted depositions of high-ranking government officials on a showing
21   that the officials approved or were personally involved in matters at issue in the litigation.
22   See, e.g., Bagley v. Blagojevich, 486 F.Supp.2d 786, 789 (C.D.Ill. 2007); see also Prisma
23   Zona Exploratoria De Puerto Rico, Inc. v. Calderon, 154 F.Supp.2d 245 (D.P.R. 2001).
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 1          The record before the court shows that all three of the proposed deponents have
 2   personal knowledge of facts related to, or direct involvement in, matters related to issues at
 3   bar.3 The instant proceedings originated with motions by the Coleman and Plata plaintiffs to
 4   convene a three-judge panel to limit the prison population in California. In its July 23, 2007
 5   order granting plaintiffs’ motion in the Coleman case, the Coleman court found, inter alia,
 6   that “[t]here is no dispute that prisons in California are seriously and dangerously
 7   overcrowded [and] [t]he Governor of California has repeatedly and eloquently noted the
 8   public emergency caused by overcrowded prison conditions.” Order filed July 23, 2007, at 8.
 9   In addition, plaintiffs have made a persuasive showing: that the Governor has made a number
10   of public pronouncements on matters that will be at issue at the trial of this matter, that the
11   Governor has been personally involved in meetings and strategy sessions with state
12   legislative leaders and others concerning prison overcrowding, and that the Governor has
13   personal information relevant to several defenses tendered in these proceedings. See, e.g.,
14   Joint Statement Regarding Discovery Dispute About Depositions, filed August 1, 2008, at 6-
15   9, 22, and documents cited therein. Similarly, plaintiffs have made a persuasive evidentiary
16   showing of the personal involvement of Deputy Cabinet Secretary Gore and Chief of Staff
17   Kennedy in matters of critical importance to the proceedings at bar. Id. at 9-11, 22 and
18   documents cited therein. Plaintiffs are entitled to inquire about these matters directly of the
19   Governor, his deputy cabinet secretary and his chief of staff.
20          Defendants contend that the information plaintiffs seek through these three
21   depositions is equally available to plaintiffs through depositions of other state officials or
22   serving written discovery requests on the Governor, or through documents produced by
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25             The parties have not squarely addressed the question of which party has the burden
     of proof on the instant motion. The motion has been framed as a request for depositions,
26   rather than as a motion for a protective order, and the parties apparently agree that plaintiffs
     have the burden of making the showing required to establish that the deponents are not
27   entitled to immunity from being deposed. This is in accord with the decisions of at least two
     district courts in the Seventh Circuit. See Bagley, 486 F.Supp.2d at 789 (quoting Hobley v.
28   Burge, 2007 WL 551569, at 2 (N.D.Ill. Feb. 22, 2007).

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 1   defendants during the course of these proceedings.4 In fact, plaintiffs have made a sufficient
 2   showing that the information they seek from the three proposed deponents is uniquely
 3   possessed by those three individuals, and that depositions are the most appropriate way to
 4   elicit that information.
 5           For the foregoing reasons, plaintiffs’ request for a court order allowing them to depose
 6   Governor Arnold Schwarzenegger, Deputy Cabinet Secretary Robert Gore, and Chief of
 7   Staff Susan Kennedy will be granted. The deposition of the Governor shall take place at the
 8   time and place identified in Plaintiffs’ July 10, 2008 Notice of Deposition and Revised
 9   Notice of Deposition of Defendant Witnesses, and shall not exceed four hours. The
10   depositions of Deputy Cabinet Secretary Robert Gore and Chief of Staff Susan Kennedy
11   shall take place at the times identified in Plaintiffs’ July 10, 2008 Notice of Deposition and
12   Revised Notice of Deposition of Defendant Witnesses. Within five days from the date of this
13   order, Deputy Cabinet Secretary Robert Gore and Chief of Staff Susan Kennedy may request
14   of plaintiffs, orally or in writing, that the depositions be conducted at their regular place of
15   business, which requests if made shall be honored by plaintiffs. The depositions of Deputy
16   Cabinet Secretary Robert Gore and Chief of Staff Susan Kennedy shall not exceed six hours
17   each.
18           In accordance with the above, IT IS HEREBY ORDERED that:
19           1. Plaintiffs’ July 21, 2008 motion to compel supplemental responses and production
20   is denied on this record.
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22             In a footnote in their part of the joint statement filed in connection with this dispute,
     plaintiffs noted that defendants had failed to produce documents in accordance with orders of
23   this court filed April 14, 2008 and May 29, 2008, despite the fact that the three-judge court
     had denied requests for reconsideration or for stay of both orders. At the August 7, 2008
24   hearing of this matter, the court directed defendants to file by noon on August 11, 2008, a
     statement of the authority on which they were relying for their continued non-compliance
25   with this court’s orders or a statement that the documents had been delivered. On August 11,
     2008, defendants filed a statement that the documents would be delivered to plaintiffs by
26   noon that day. In the statement, defendants assert that the documents so produced “provid[e]
     Plaintiffs with yet another source of the information they seek.” Defendants’ Statement in
27   Response to Court’s Inquiries, filed August 11, 2008, at 2. To put it mildly, even if
     defendants had endeavored to actually make an evidentiary showing to support this assertion,
28   which they have not, it comes too late.

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 1          2. Plaintiffs’ July 21, 2008 motion to compel the depositions of Governor Arnold
 2   Schwarzenegger, Deputy Cabinet Secretary Robert Gore, and Chief of Staff Susan Kennedy
 3   is granted, as follows:
 4                 a. The deposition of Governor Arnold Schwarzenegger shall take place at the
 5   time and place identified in Plaintiffs’ July 10, 2008 Notice of Deposition and Revised
 6   Notice of Deposition of Defendant Witnesses, and shall not exceed four hours.
 7                 b. The depositions of Deputy Cabinet Secretary Robert Gore and Chief of Staff
 8   Susan Kennedy shall take place at the times identified in Plaintiffs’ July 10, 2008 Notice of
 9   Deposition and Revised Notice of Deposition of Defendant Witnesses. Within five days
10   from the date of this order, Deputy Cabinet Secretary Robert Gore and Chief of Staff Susan
11   Kennedy may request of plaintiffs, orally or in writing, that the depositions be conducted at
12   their regular place of business, which requests if made shall be honored by plaintiffs. The
13   depositions of Deputy Cabinet Secretary Robert Gore and Chief of Staff Susan Kennedy
14   shall not exceed six hours each.
15   DATED: August 14, 2008.
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